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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
COMMITTEE ON THE JUDICIARY OF THE          )
U.S. HOUSE OF REPRESENTATIVES,             )
                                           )
                        Plaintiff,         )
v.                                         ) No. 1:19-cv-2379-KBJ
                                           )
DONALD F. McGAHN II,                       )
                                           )
                        Defendant.         )
__________________________________________)

                DEFENDANT’S RESPONSE TO PLAINTIFF’S NOTICE
               REGARDING STATUS OF ACCOMMODATION PROCESS

       Defendant Donald F. McGahn II respectfully submits this response to the Committee’s

Notice of October 29, 2019 (“Notice”), ECF No. 41, pertaining to “the state of the parties’

negotiations concerning an interview with Donald McGahn.”

       The Committee does not dispute that it filed this action and moved for summary judgment

well before the accommodation process had run its course. Indeed, within two days of Defendant

filing his cross-motion and opposition to the Committee’s motion for summary judgment (“Def.’s

Mot.”), ECF No. 32, the Committee reached out to the White House Counsel’s Office to resume

discussions about the terms and conditions on which an interview with Mr. McGahn might occur.

See Reply in Supp. of Def.’s Mot. for Summ. J. (“Def.’s Reply”) at 29. In the following weeks,

the parties held more than five discussions to explore whether they could reach a mutually

acceptable accommodation for an interview with Mr. McGahn. Id. Thus, it simply is not the case

that the parties “have been . . . ‘at an impasse’” throughout the pendency of this case, Notice at 1,
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nor is it the case that the parties’ inability to reach an agreement constitutes “stonewalling” by the

White House. Id. at 3.1

       Notwithstanding these points, Defendant agrees that the parties’ negotiations have now

reached a stage at which it is clear that fundamental disagreements remain between the parties and

that, under the present circumstances, it appears unlikely the parties will reach a mutually

acceptable accommodation. Defendant therefore withdraws his accommodation argument. See

Def.’s Mot. at 43-46; Def.’s Reply at 27-30.

Dated: October 30, 2019

                                                  Respectfully submitted,

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                                                  ELIZABETH J. SHAPIRO
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                                                  /s/ Serena Orloff
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   The Committee cites a recent decision of Chief Judge Howell, In re App. of the Committee, —
F. Supp. 3d —, 2019 WL 5485221 (D.D.C. Oct. 25, 2019), appeal filed, No. 19-5288 (D.C. Cir.
Oct. 28, 2019). The legal issue in that case is whether the Court can authorize disclosure of grand
jury information under Fed. R. Crim. P. 6(e), and Judge Howell’s decision—with which the
government respectfully disagrees—sheds no light on the resolution of the many different legal
issues in this case.
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